Case 1:16-cr-20893-FAM Document 98 Entered on FLSD Docket 01/28/2018 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 16-20893-CR-MORENO(s)

  UNITED STATES OF AMERICA,

  vs.

  MONTY RAY GROW

        Defendant.
  __________________________/

                               DEFENDANT’S WITNESS LIST

        Defendant Monty Ray Grow hereby respectfully files his final witness list, as follows:

        1.   David Corcoran
        2.   Sal DaVilla
        3.   Luis Green
        4.   Monty Ray Grow
                                             Respectfully Submitted,

                                             /s/ Jeffrey E. Marcus
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Case 1:16-cr-20893-FAM Document 98 Entered on FLSD Docket 01/28/2018 Page 2 of 2




                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 28, 2018, a true and correct copy of the foregoing was

  served via CM/ECF and hand-delivered on all counsel or parties of record.



                                                            By:    /s/ Jeffrey E. Marcus
                                                                   Jeffrey E. Marcus
